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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/895777883" data-vids="895777883" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;487 P.3d 665&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;SAN ISABEL ELECTRIC ASSOCIATION, INC.&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellant&lt;/span&gt;&lt;/span&gt;,&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The PUBLIC UTILITIES COMMISSION of the State of Colorado&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Jeffrey Ackermann&lt;/span&gt;, in his official capacity as &lt;span class="ldml-role"&gt;Chairman of the Public Utilities Commission of the State of Colorado&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Frances A. Koncilja&lt;/span&gt;, in her official capacity as a &lt;span class="ldml-role"&gt;member of the Public Utilities Commission of the State of Colorado&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;John Gavan&lt;/span&gt;, in his official capacity as a &lt;span class="ldml-role"&gt;member of the Public Utilities Commission of the State of Colorado&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Black Hills Colorado Electric, LLC&lt;/span&gt;&lt;/span&gt; ; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Black Hills Colorado Wind, LLC&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondents&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellees&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Supreme Court &lt;span class="ldml-cite"&gt;Case No. 20SA103&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;June 1, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="642" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="642" data-sentence-id="642" class="ldml-sentence"&gt;Attorney for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellant&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Sisto Mazza&lt;/span&gt;&lt;/span&gt;, Trinidad, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="708" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="708" data-sentence-id="708" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondents&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellees&lt;/span&gt;&lt;/span&gt; Public Utilities Commission of &lt;span class="ldml-entity"&gt;the State&lt;/span&gt; of Colorado&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Jeffrey Ackermann&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Frances A. Koncilja&lt;/span&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;John Gavan&lt;/span&gt;&lt;/span&gt; : &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Philip J. Weiser&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Paul C. Gomez&lt;/span&gt;&lt;/span&gt;, First Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Ruth M. Harper&lt;/span&gt;&lt;/span&gt;, Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1000" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="1000" data-sentence-id="1000" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondents&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellees&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Black Hills Colorado Electric, LLC&lt;/span&gt;; and &lt;span class="ldml-entity"&gt;Black Hills Colorado Wind, LLC&lt;/span&gt;: &lt;span class="ldml-lawfirm"&gt;Wilkinson Barker Knauer, LLP&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Raymond L. Gifford&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Caitlin M. Shields&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Ethan D. Jeans&lt;/span&gt;&lt;/span&gt;, Denver, Colorado, &lt;span class="ldml-entity"&gt;Black Hills Corporation&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Tyler E. Mansholt&lt;/span&gt;&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;h2 class="ldml-opinionheading"&gt;&lt;span data-paragraph-id="1272" class="ldml-paragraph "&gt;&lt;span class="ldml-judgepanel"&gt;&lt;span data-paragraph-id="1272" data-sentence-id="1272" class="ldml-sentence"&gt;En Banc&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/h2&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="1279" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (MARQUEZ)"&gt;&lt;span data-paragraph-id="1279" data-sentence-id="1279" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MARQUEZ&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1330" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1330" data-sentence-id="1330" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1330"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Appellant&lt;/span&gt; &lt;span class="ldml-entity"&gt;San Isabel Electric Association, Inc.&lt;/span&gt; is a rural cooperative electric association that holds two certificates of public convenience and necessity &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"CPCNs"&lt;/span&gt;)&lt;/span&gt; issued by the &lt;span class="ldml-entity"&gt;Colorado Public Utilities Commission&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;PUC&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1330" data-sentence-id="1559" class="ldml-sentence"&gt;Under its CPCNs, San Isabel has the exclusive right to provide electric service as a public utility to members and non-member customers in its certificated area, which spans seven counties in southern Colorado.&lt;/span&gt; &lt;span data-paragraph-id="1330" data-sentence-id="1770" class="ldml-sentence"&gt;The question before &lt;span class="ldml-entity"&gt;us&lt;/span&gt; is whether San Isabel's CPCNs include the right to provide station power to two wind farms located in San Isabel's certificated territory that are owned by another utility, &lt;span class="ldml-entity"&gt;Black Hills Colorado Electric, LLC&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Black Hills Colorado Wind, LLC&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(collectively, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;Black Hills&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1330" data-sentence-id="2067" class="ldml-sentence"&gt;The PUC concluded that San Isabel's CPCNs do not include the right to provide station power to operate the wind turbines' electronics, hydraulic pumps, heaters, and other auxiliary equipment at Black Hills' wind farms, and that the decision to allow Black Hills to self-supply station power to its wind farms did &lt;span class="ldml-pagenumber" data-vol="487" data-rep="P.3d" data-page_type="bracketed_cite" data-val="668" data-id="pagenumber_2380"&gt;&lt;/span&gt; not violate San Isabel's state and federal constitutional rights to due process.&lt;/span&gt; &lt;span data-paragraph-id="1330" data-sentence-id="2462" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; affirmed the PUC's ruling.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2507" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="2507" data-sentence-id="2507" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2507"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; now affirm the judgment of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2507" data-sentence-id="2560" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that, on &lt;span class="ldml-entity"&gt;the facts of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt;, the PUC regularly pursued its authority in concluding that San Isabel's right under its CPCNs does not include the right to provide station power to Black Hills' generation facilities and that Black Hills, as a vertically integrated utility, may self-supply such power using its own interconnected transmission network and electric generation resources.&lt;/span&gt; &lt;span data-paragraph-id="2507" data-sentence-id="2955" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; further hold that, because San Isabel did not have a property right to supply station power to another utility, the PUC's decision did not amount to a taking of property without due process.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="1" data-parsed="true" data-ordinal_end="1" data-value="I. Facts and Procedural History" data-specifier="I" data-types="background" data-format="upper_case_roman_numeral" data-content-heading-label="I. Facts and Procedural History" data-confidences="very_high" id="heading_3148" data-id="heading_3148"&gt;&lt;span data-paragraph-id="3148" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="3148" data-sentence-id="3148" class="ldml-sentence"&gt;I.&lt;/span&gt; &lt;span data-paragraph-id="3148" data-sentence-id="3151" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="1" data-parsed="true" data-ordinal_end="1" data-value="A. Background" data-specifier="A" data-types="background" data-format="upper_case_letters" data-content-heading-label="A. Background" data-confidences="very_high" id="heading_3179" data-id="heading_3179"&gt;&lt;span data-paragraph-id="3179" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="3179" data-sentence-id="3179" class="ldml-sentence"&gt;A.&lt;/span&gt; &lt;span data-paragraph-id="3179" data-sentence-id="3182" class="ldml-sentence"&gt;Background&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="3192" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3192" data-sentence-id="3193" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶3 Section 40-9.5-105&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, allows the PUC to issue a CPCN assigning specific service territories to a cooperative electric association.&lt;/span&gt; &lt;span data-paragraph-id="3192" data-sentence-id="3343" class="ldml-sentence"&gt;An electric utility that has been granted a CPCN generally has the exclusive right to provide electricity in its certificated territory.&lt;/span&gt; &lt;span data-paragraph-id="3192" data-sentence-id="3480" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:thepublicutilitiescommissionofthestateofcoloradoandpoudrevalleyruralelectricassociation,incvhomelightandpowercompanyno21691428p2d928,163colo72june12,1967" data-prop-ids="embeddedsentence_3566,sentence_3343"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Pub. Utils. Comm'n v. Home Light &amp; Power Co.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;163 Colo. 72&lt;/span&gt;, &lt;span class="ldml-cite"&gt;428 P.2d 928, 936&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1967&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[O]&lt;/span&gt;nce an area has been &lt;span class="ldml-parenthetical"&gt;[c]&lt;/span&gt;ertificated to &lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt; utility, it and it alone has the right to serve the future needs of that area provided it can do so."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3192" data-sentence-id="3717" class="ldml-sentence"&gt;The key issue in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; is whether such a right includes the provision of &lt;span class="ldml-quotation quote"&gt;"station power,"&lt;/span&gt; a term understood in the industry as the electric energy required to operate and maintain electric generation facilities.&lt;/span&gt; &lt;span data-paragraph-id="3192" data-sentence-id="3933" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3717"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;PJM Interconnection, LLC&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;94 FERC ¶ 61,251, at 61,889&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"PJM II"&lt;/span&gt;)&lt;/span&gt;&lt;a href="#note-fr1" class="ldml-noteanchor" id="note-ref-fr1"&gt;1&lt;/a&gt; &lt;/i&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Federal Energy Regulatory Commission&lt;/span&gt; defining &lt;span class="ldml-quotation quote"&gt;"station power"&lt;/span&gt; as the electric energy used for, &lt;i class="ldml-italics"&gt;inter alia,&lt;/i&gt; &lt;span class="ldml-quotation quote"&gt;"operating the electric equipment that is on the generating facility's site"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4204" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4204" data-sentence-id="4204" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4204"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; An electric generation facility can procure station power through one of three means: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; on-site self-supply &lt;span class="ldml-parenthetical"&gt;(i.e., by redirecting electricity generated on site for internal use)&lt;/span&gt;; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; remote self-supply &lt;span class="ldml-parenthetical"&gt;(i.e., by obtaining power from an off-site generator owned by the same company)&lt;/span&gt;; or &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; third-&lt;span class="ldml-entity"&gt;party&lt;/span&gt; supply &lt;span class="ldml-parenthetical"&gt;(i.e., by drawing power through the grid from an unaffiliated provider)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4204" data-sentence-id="4591" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893216787" data-vids="893216787" class="ldml-reference" data-prop-ids="sentence_4204"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Calpine Corp. v. FERC&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;702 F.3d 41, 42&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;D.C. Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2012&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4204"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;PJM II&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;at 61,890&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4672" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4672" data-sentence-id="4672" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4672"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Historically, electric utilities were vertically integrated, meaning &lt;span class="ldml-entity"&gt;they&lt;/span&gt; owned all three aspects of electric service—electricity generation, long-distance power transmission, and local distribution of electricity to end users—and sold these services as bundled packages in their service areas.&lt;/span&gt; &lt;span data-paragraph-id="4672" data-sentence-id="4970" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893216787" data-vids="893216787" class="ldml-reference" data-prop-ids="sentence_4672"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Calpine&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;702 F.3d at 42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4672" data-sentence-id="4995" class="ldml-sentence"&gt;These vertically integrated utilities did not charge themselves for the use of station power at their generating facilities but instead subtracted &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"netted"&lt;/span&gt;)&lt;/span&gt; the energy consumed as station power from their gross output of electric energy.&lt;/span&gt; &lt;span data-paragraph-id="4672" data-sentence-id="5234" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893216787" data-vids="893216787" class="ldml-reference" data-prop-ids="sentence_4995"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4672" data-sentence-id="5245" class="ldml-sentence"&gt;In other words, whether through on-site or remote self-supply, a vertically integrated utility used only its own generating resources for station power and accounted for such usage through the practice of netting.&lt;/span&gt; &lt;span data-paragraph-id="4672" data-sentence-id="5459" class="ldml-sentence"&gt;In so doing, the energy industry has traditionally treated station power as distinct from other types of electric service.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="5581" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="5581" data-sentence-id="5581" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5581"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;1996&lt;/span&gt;, however, the &lt;span class="ldml-entity"&gt;Federal Energy Regulatory Commission&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"FERC"&lt;/span&gt;)&lt;/span&gt; issued Order 888, which unbundled electricity generation from transmission and distribution services.&lt;/span&gt; &lt;span data-paragraph-id="5581" data-sentence-id="5754" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893216787" data-vids="893216787" class="ldml-reference" data-prop-ids="sentence_5581"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Calpine&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;702 F.3d at 43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892911856" data-vids="892911856" class="ldml-reference" data-prop-ids="sentence_5581"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Niagara Mohawk Power Corp. v. FERC&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;452 F.3d 822, 824&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;D.C. Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2006&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5581" data-sentence-id="5852" class="ldml-sentence"&gt;Order 888 successfully encouraged the creation of independent wholesale generators, but it raised questions about how independent generators would be charged for their use of station power when the source of that station power is a third &lt;span class="ldml-entity"&gt;party&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5581" data-sentence-id="6097" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893216787" data-vids="893216787" class="ldml-reference" data-prop-ids="sentence_5852"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Calpine&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;702 F.3d at 43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5852"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;PJM II&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;at 61,882&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5581" data-sentence-id="6142" class="ldml-sentence"&gt;A series of FERC decisions, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;PJM Interconnection, LLC&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;93 FERC ¶ 61,061, at 61,163&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2000&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;("&lt;i class="ldml-italics"&gt;PJM I&lt;/i&gt; ")&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6142"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;PJM II&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;at 61,890&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;PJM Interconnection, LLC&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;95 FERC ¶ 61,470, at 62,187&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;("&lt;i class="ldml-italics"&gt;PJM III&lt;/i&gt; ")&lt;/span&gt;&lt;/span&gt;, addressed this question by devising &lt;span class="ldml-quotation quote"&gt;"netting intervals,"&lt;/span&gt; &lt;span class="ldml-pagenumber" data-vol="487" data-rep="P.3d" data-page_type="bracketed_cite" data-val="669" data-id="pagenumber_6399"&gt;&lt;/span&gt; reasoning that if a generator uses more power than it sends over a fixed period, it is deemed to have obtained the shortfall in a retail sale from a third &lt;span class="ldml-entity"&gt;party&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5581" data-sentence-id="6562" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893216787" data-vids="893216787" class="ldml-reference" data-prop-ids="sentence_6142"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Calpine&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;702 F.3d at 43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5581" data-sentence-id="6587" class="ldml-sentence"&gt;Those decisions also gave rise to jurisdictional issues between federal authorities &lt;span class="ldml-parenthetical"&gt;(which regulate wholesale sales and transmission of electric energy in interstate commerce)&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/943353995" data-vids="943353995" class="ldml-reference" data-prop-ids="sentence_6587"&gt;&lt;span class="ldml-cite"&gt;16 U.S.C. § 824&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2018&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and state authorities &lt;span class="ldml-parenthetical"&gt;(which regulate other sales and local distribution of electricity)&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/943353995" data-vids="943353995" class="ldml-reference" data-prop-ids="sentence_6587"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/i&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="5581" data-sentence-id="6896" class="ldml-sentence"&gt;As relevant here, those decisions made clear that a generator's self-supply of station power does not involve a sale at all &lt;span class="ldml-parenthetical"&gt;(wholesale or retail)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5581" data-sentence-id="7043" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_7074,sentence_6896"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;PJM II&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;at 61,890&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;reasoning that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[f]&lt;/span&gt;or both on-site self-supply and remote self-supply,"&lt;/span&gt; a generator uses &lt;span class="ldml-quotation quote"&gt;"only its own generating resources"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"is not consuming another &lt;span class="ldml-entity"&gt;party&lt;/span&gt;'s energy,"&lt;/span&gt; meaning &lt;span class="ldml-quotation quote"&gt;"there is no sale &lt;span class="ldml-parenthetical"&gt;(for end use or otherwise)&lt;/span&gt; between two different &lt;span class="ldml-entity"&gt;parties&lt;/span&gt;, but only one &lt;span class="ldml-entity"&gt;party&lt;/span&gt; using its own generating resources for the purposes of self-supply and accounting for such usage through the practice of netting"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892911856" data-vids="892911856" class="ldml-reference" data-prop-ids="sentence_6896"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Niagara Mohawk&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;452 F.3d at 826&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="2" data-parsed="true" data-ordinal_end="2" data-value="B. Facts" data-specifier="B" data-types="background" data-format="upper_case_letters" data-content-heading-label="B. Facts" data-confidences="very_high" id="heading_7524" data-id="heading_7524"&gt;&lt;span data-paragraph-id="7524" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="7524" data-sentence-id="7524" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="7524" data-sentence-id="7527" class="ldml-sentence"&gt;Facts&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="7532" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7532" data-sentence-id="7532" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7532"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Appellant&lt;/span&gt; San Isabel is a rural, nonprofit, cooperative electric association regulated by the PUC under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7532"&gt;&lt;span class="ldml-cite"&gt;section 40-9.5-101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2020&lt;/span&gt;)&lt;/span&gt;.&lt;a href="#note-fr2" class="ldml-noteanchor" id="note-ref-fr2"&gt;2&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="7532" data-sentence-id="7674" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;January 13, 1958&lt;/span&gt;, the PUC granted &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7674"&gt;&lt;span class="ldml-refname"&gt;San Isabel a CPCN through Decision&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 49302&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7532" data-sentence-id="7757" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;1958 CPCN&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; furnished San Isabel with the exclusive right to provide electric service &lt;span class="ldml-quotation quote"&gt;"for light, heat, power, and other purposes"&lt;/span&gt; in Huerfano, Las Animas, Pueblo, Freemont, and Custer Counties.&lt;/span&gt; &lt;span data-paragraph-id="7532" data-sentence-id="7954" class="ldml-sentence"&gt;San Isabel also holds a CPCN granted on &lt;span class="ldml-entity"&gt;December 9, 1970&lt;/span&gt;, in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7954"&gt;&lt;span class="ldml-refname"&gt;Decision&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. 76421&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which expanded its service territory and authorized it to provide electric service in designated areas of &lt;span class="ldml-entity"&gt;Pueblo County&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7532" data-sentence-id="8156" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;1970 CPCN&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provided that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[n]&lt;/span&gt;othing contained herein shall be interpreted to preclude a utility from traversing an area certificated to another utility with transmission or distribution feeder lines or from locating substations or other needed facilities therein."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8423" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8423" data-sentence-id="8423" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8423"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Black Hills is a vertically integrated, for-profit public electric utility governed by the Public Utilities Law, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8423"&gt;&lt;span class="ldml-cite"&gt;sections 40-1-101 to 40-7-118&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2020&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8423" data-sentence-id="8585" class="ldml-sentence"&gt;It is engaged in the generation, transmission, distribution, and purchase of electricity in service territories within Colorado for which it holds CPCNs or territorial grandfather rights.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8772" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8772" data-sentence-id="8772" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8772"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Black Hills owns and operates two wind-powered electric generation facilities &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"Wind Facilities"&lt;/span&gt;)&lt;/span&gt; located in San Isabel's certificated territory under the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;1958 CPCN.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="8772" data-sentence-id="8941" class="ldml-sentence"&gt;The first is Busch Ranch, a 29.04-megawatt facility located in &lt;span class="ldml-entity"&gt;Huerfano County&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8772" data-sentence-id="9021" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;2011&lt;/span&gt;, the PUC granted a CPCN to Black Hills to develop, construct, and own fifty percent of the wind turbines and other facilities at Busch Ranch.&lt;a href="#note-fr3" class="ldml-noteanchor" id="note-ref-fr3"&gt;3&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="8772" data-sentence-id="9171" class="ldml-sentence"&gt;Busch Ranch became operational in &lt;span class="ldml-entity"&gt;October 2012&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8772" data-sentence-id="9219" class="ldml-sentence"&gt;The second is Peak View, a 60-megawatt facility that is located in Huerfano and Las Animas Counties.&lt;/span&gt; &lt;span data-paragraph-id="8772" data-sentence-id="9320" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;2015&lt;/span&gt;, the PUC granted a CPCN to Black Hills to purchase and own Peak View.&lt;/span&gt; &lt;span data-paragraph-id="8772" data-sentence-id="9398" class="ldml-sentence"&gt;Peak View became operational in &lt;span class="ldml-entity"&gt;November 2016&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8772" data-sentence-id="9445" class="ldml-sentence"&gt;Both facilities are renewable energy resources.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9492" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9492" data-sentence-id="9492" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9492"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; To obtain electricity generated by the Wind Facilities for its own certificated territory, Black Hills applied for permission to construct and operate the Rattlesnake Butte Project, which included a 36-mile long, 115-kilovolt transmission line and substation located within San Isabel's certificated territory in &lt;span class="ldml-entity"&gt;Huerfano County&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9492" data-sentence-id="9826" class="ldml-sentence"&gt;The transmission line and substation are designed to accommodate two-way power flows out of and into the Wind Facilities.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9947" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9947" data-sentence-id="9947" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9947"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The PUC approved the Rattlesnake Butte Project without requiring a CPCN, &lt;span class="ldml-pagenumber" data-vol="487" data-rep="P.3d" data-page_type="bracketed_cite" data-val="670" data-id="pagenumber_10024"&gt;&lt;/span&gt; deeming it to be within the ordinary course of business pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9947"&gt;&lt;span class="ldml-cite"&gt;section 40-5-101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2020&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(specifying that a public utility need not secure a CPCN when an extension to territory already served is necessary in the ordinary course of business)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9947" data-sentence-id="10278" class="ldml-sentence"&gt;At the time, San Isabel did not object to, or comment upon, the proposed construction of the transmission line and substation.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10404" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10404" data-sentence-id="10404" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10404"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The Wind Facilities require station power to operate and maintain the electric equipment on site.&lt;/span&gt; &lt;span data-paragraph-id="10404" data-sentence-id="10506" class="ldml-sentence"&gt;When the wind is blowing sufficiently, the Wind Facilities generate and self-supply the station power required to operate.&lt;/span&gt; &lt;span data-paragraph-id="10404" data-sentence-id="10629" class="ldml-sentence"&gt;However, during periods when the Wind Facilities do not generate and self-supply station power, the necessary station power must be supplied from another source to prevent damage to the wind turbines.&lt;/span&gt; &lt;span data-paragraph-id="10404" data-sentence-id="10830" class="ldml-sentence"&gt;As a vertically integrated utility, Black Hills has no need to acquire station power from a third &lt;span class="ldml-entity"&gt;party&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10404" data-sentence-id="10935" class="ldml-sentence"&gt;Instead, Black Hills remotely self-supplies the station power to the Wind Facilities by back-feeding electricity through the Rattlesnake Butte lines.&lt;/span&gt; &lt;span data-paragraph-id="10404" data-sentence-id="11085" class="ldml-sentence"&gt;Black Hills then nets the back-fed station power used by the Wind Facilities against the total output of electricity to calculate the total generation output.&lt;/span&gt; &lt;span data-paragraph-id="10404" data-sentence-id="11244" class="ldml-sentence"&gt;The average amount of power back-fed by Black Hills to its Wind Facilities in &lt;span class="ldml-entity"&gt;2017&lt;/span&gt; comprised 0.26% of the total generation output of the two Wind Facilities combined.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="3" data-parsed="true" data-ordinal_end="3" data-value="C. Procedural History" data-specifier="C" data-types="background" data-format="upper_case_letters" data-content-heading-label="C. Procedural History" data-confidences="very_high" id="heading_11410" data-id="heading_11410"&gt;&lt;span data-paragraph-id="11410" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="11410" data-sentence-id="11410" class="ldml-sentence"&gt;C.&lt;/span&gt; &lt;span data-paragraph-id="11410" data-sentence-id="11413" class="ldml-sentence"&gt;Procedural History&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="11431" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11431" data-sentence-id="11431" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11431"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; On &lt;span class="ldml-entity"&gt;January 26, 2018&lt;/span&gt;, San Isabel filed with the PUC a complaint and &lt;span class="ldml-entity"&gt;petition for declaratory relief&lt;/span&gt; against Black Hills and AltaGas, claiming that Black Hills' self-supply of station power to the Wind Facilities violated San Isabel's right to provide electric service in its certificated territory.&lt;/span&gt; &lt;span data-paragraph-id="11431" data-sentence-id="11733" class="ldml-sentence"&gt;The complaint requested a declaration that only San Isabel is authorized to provide electric service to the Wind Facilities.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="11857" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11857" data-sentence-id="11857" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11857"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; On &lt;span class="ldml-entity"&gt;March 5, 2018&lt;/span&gt;, Black Hills responded by filing its own &lt;span class="ldml-entity"&gt;petition requesting declarations&lt;/span&gt; that its provision of station power to the Wind Facilities &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; is not a retail sale of electricity subject to PUC regulation under Colorado law and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; did not violate San Isabel's right to serve under its CPCN.&lt;/span&gt; &lt;span data-paragraph-id="11857" data-sentence-id="12164" class="ldml-sentence"&gt;Black Hills moved to stay San Isabel's complaint pending resolution of its own petition, or in the alternative, to consolidate the two proceedings.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="12311" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="12311" data-sentence-id="12311" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12311"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The PUC referred both matters to an administrative law judge &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"ALJ"&lt;/span&gt;)&lt;/span&gt; and consolidated them.&lt;/span&gt; &lt;span data-paragraph-id="12311" data-sentence-id="12407" class="ldml-sentence"&gt;Without holding a hearing, the ALJ issued &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12407"&gt;&lt;span class="ldml-refname"&gt;Recommended Decision&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. R18-1126&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; on &lt;span class="ldml-entity"&gt;December 13, 2018&lt;/span&gt;, dismissing San Isabel's complaint and &lt;span class="ldml-entity"&gt;petition for declaratory relief&lt;/span&gt; and granting, in part, Black Hills' petition for declaratory ruling.&lt;/span&gt; &lt;span data-paragraph-id="12311" data-sentence-id="12644" class="ldml-sentence"&gt;Specifically, the ALJ determined that &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the PUC has jurisdiction to regulate the supply of station power to the Wind Facilities; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; Black Hills' self-supply of station power to the Wind Facilities &lt;span class="ldml-parenthetical"&gt;(whether on-site or remotely from off-site generation and transmission facilities)&lt;/span&gt; is not a sale of electricity for end use or a retail sale; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; San Isabel does not have any right to provide station power to the Wind Facilities under its CPCN; and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; Black Hills has not violated San Isabel's right to provide electric service under its CPCN and, therefore, may continue to self-supply its station power.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="13250" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13250" data-sentence-id="13250" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13250"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; On &lt;span class="ldml-entity"&gt;January 25, 2019&lt;/span&gt;, San Isabel filed exceptions to the ALJ's Recommended Decision, asserting that the ALJ effectively removed portions of its service territory without complying with the procedures required by &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13250"&gt;&lt;span class="ldml-cite"&gt;section 40-9.5-105&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;requiring the PUC to determine, after a hearing upon complaint, that an electric public utility is &lt;span class="ldml-quotation quote"&gt;"unwilling or unable to serve an existing or newly developing load within its certificated territory and that the public convenience and necessity requires a change"&lt;/span&gt; before deleting certificated territory from a CPCN&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, and thus violated San Isabel's right to due process.&lt;/span&gt; &lt;span data-paragraph-id="13250" data-sentence-id="13859" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;March 28, 2019&lt;/span&gt;, the PUC issued a decision denying the exceptions and adopting the ALJ's Recommended Decision.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="13971" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13971" data-sentence-id="13971" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13971"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; On &lt;span class="ldml-entity"&gt;April 25, 2019&lt;/span&gt;, San Isabel sought judicial review in the &lt;span class="ldml-entity"&gt;Denver District Court&lt;/span&gt;, arguing that the PUC failed to regularly pursue its authority by &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; acting in excess of its authority, &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; failing to apply the proper legal standards, &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; applying an arbitrary and capricious standard, and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; depriving it of its property without due process of law.&lt;/span&gt; &lt;span data-paragraph-id="13971" data-sentence-id="14327" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; affirmed the PUC decision on &lt;span class="ldml-entity"&gt;February 3, 2020&lt;/span&gt;, rejecting all of San Isabel's &lt;span class="ldml-pagenumber" data-vol="487" data-rep="P.3d" data-page_type="bracketed_cite" data-val="671" data-id="pagenumber_14423"&gt;&lt;/span&gt; legal challenges.&lt;/span&gt; &lt;span data-paragraph-id="13971" data-sentence-id="14442" class="ldml-sentence"&gt;San Isabel then brought an appeal to &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; pursuant to &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;40-6-115&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="2" data-parsed="true" data-ordinal_end="2" data-value="II. Analysis" data-specifier="II" data-types="analysis" data-format="upper_case_roman_numeral" data-content-heading-label="II. Analysis" data-confidences="very_high" id="heading_14537" data-id="heading_14537"&gt;&lt;span data-paragraph-id="14537" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="14537" data-sentence-id="14537" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="14537" data-sentence-id="14541" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="14549" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="14549" data-sentence-id="14549" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14549"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The core question before &lt;span class="ldml-entity"&gt;us&lt;/span&gt; is whether San Isabel's exclusive right to &lt;span class="ldml-quotation quote"&gt;"render electric service"&lt;/span&gt; under its CPCNs includes the right to provide station power to another utility's generation facilities within its certificated territory.&lt;/span&gt; &lt;span data-paragraph-id="14549" data-sentence-id="14788" class="ldml-sentence"&gt;San Isabel argues that it does, and that the PUC failed to regularly pursue its authority when it concluded otherwise.&lt;/span&gt; &lt;span data-paragraph-id="14549" data-sentence-id="14907" class="ldml-sentence"&gt;Specifically, San Isabel contends that the PUC's conclusion that San Isabel's CPCNs do not include the right to serve Black Hills' Wind Facilities is inconsistent with the principle of regulated monopoly; that its decision to distinguish station power from other types of electric service was arbitrary and capricious; and that the PUC failed to comply with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14907"&gt;&lt;span class="ldml-cite"&gt;section 40-9.5-105&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and applicable &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;, which required the PUC to find that San Isabel was &lt;span class="ldml-quotation quote"&gt;"unwilling or unable to serve"&lt;/span&gt; the Wind Facilities before reducing San Isabel's certificated service territory.&lt;/span&gt; &lt;span data-paragraph-id="14549" data-sentence-id="15475" class="ldml-sentence"&gt;San Isabel further contends that the PUC deprived it of state and federal constitutional due process by taking away its exclusive right to provide electric service without holding a hearing or applying the legal standard under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15475"&gt;&lt;span class="ldml-cite"&gt;section 40-9.5-105&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="15724" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15724" data-sentence-id="15724" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15724"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Black Hills and the PUC respond that San Isabel's exclusive rights under its CPCNs do not include the provision of station power to another utility's facilities because station power is treated differently from other electric service in the utilities industry.&lt;/span&gt; &lt;span data-paragraph-id="15724" data-sentence-id="15989" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; argue, when a generator self-supplies its own energy &lt;span class="ldml-parenthetical"&gt;(either on-site or through remote self-supply)&lt;/span&gt;, it is not consuming another &lt;span class="ldml-entity"&gt;party&lt;/span&gt;'s electricity.&lt;/span&gt; &lt;span data-paragraph-id="15724" data-sentence-id="16153" class="ldml-sentence"&gt;Under such circumstances, there is no sale of electricity between two &lt;span class="ldml-entity"&gt;parties&lt;/span&gt;; rather, one &lt;span class="ldml-entity"&gt;party&lt;/span&gt; is using its own generating resources and accounting for such usage through the practice of netting.&lt;/span&gt; &lt;span data-paragraph-id="15724" data-sentence-id="16351" class="ldml-sentence"&gt;Consequently, as a vertically integrated utility, Black Hills may self-supply station power to its own wind facilities using its interconnected transmission network and electric generation resources without violating San Isabel's CPCN rights.&lt;/span&gt; &lt;span data-paragraph-id="15724" data-sentence-id="16594" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Respondents&lt;/span&gt; further argue that the PUC interpreted the scope of the rights granted in the CPCNs without &lt;span class="ldml-quotation quote"&gt;"reducing"&lt;/span&gt; those rights, and thus had no duty to apply the &lt;span class="ldml-quotation quote"&gt;"unwilling or unable to serve"&lt;/span&gt; &lt;span class="ldml-entity"&gt;standard in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16594"&gt;&lt;span class="ldml-cite"&gt;section 40-9.5-105&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15724" data-sentence-id="16823" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;Respondents&lt;/span&gt; assert that, because the PUC appropriately found that San Isabel had no existing property right to supply station power, San Isabel was not deprived of due process.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17008" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17008" data-sentence-id="17008" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17008"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree with &lt;span class="ldml-entity"&gt;Respondents&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17008" data-sentence-id="17039" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that the PUC regularly pursued its authority and applied proper standards in determining that the utility industry has traditionally distinguished station power from traditional retail electric service and that, when a vertically integrated utility like Black Hills self-supplies station power from its own generation resources, there is no sale of electricity.&lt;/span&gt; &lt;span data-paragraph-id="17008" data-sentence-id="17409" class="ldml-sentence"&gt;Thus, San Isabel's exclusive right under its CPCN to provide electric service does not include the right to provide station power to Black Hills' Wind Facilities located within San Isabel's certificated territory.&lt;/span&gt; &lt;span data-paragraph-id="17008" data-sentence-id="17623" class="ldml-sentence"&gt;Moreover, because San Isabel had no property right in providing station power to the Wind Facilities, the PUC's decision did not violate San Isabel's due process rights under the Colorado or U.S. Constitutions.&lt;/span&gt; &lt;span data-paragraph-id="17008" data-sentence-id="17834" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; therefore affirm the judgment of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; upholding the PUC's decision.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="1" data-parsed="true" data-ordinal_end="1" data-value="A. Standard of Review" data-specifier="A" data-types="standardofreview" data-format="upper_case_letters" data-content-heading-label="A. Standard of Review" data-confidences="very_high" id="heading_17918" data-id="heading_17918"&gt;&lt;span data-paragraph-id="17918" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="17918" data-sentence-id="17918" class="ldml-sentence"&gt;A.&lt;/span&gt; &lt;span data-paragraph-id="17918" data-sentence-id="17921" class="ldml-sentence"&gt;Standard of Review&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="17939" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17939" data-sentence-id="17939" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17939"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The PUC derives broad power from the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17939"&gt;&lt;span class="ldml-cite"&gt;Colorado Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"to regulate the facilities, service and rates and charges therefor"&lt;/span&gt; of public utilities in Colorado.&lt;/span&gt; &lt;span data-paragraph-id="17939" data-sentence-id="18104" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17939"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. XXV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17939" data-sentence-id="18127" class="ldml-sentence"&gt;The General Assembly has granted the PUC authority &lt;span class="ldml-quotation quote"&gt;"to do all things, whether specifically designated in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18127"&gt;&lt;span class="ldml-cite"&gt;articles 1 to 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of this title or in addition thereto, which are necessary or convenient in the exercise of such power."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17939" data-sentence-id="18352" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18127"&gt;&lt;span class="ldml-cite"&gt;§ 40-3-102, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="18378" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="18378" data-sentence-id="18379" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18379"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Because the PUC &lt;span class="ldml-quotation quote"&gt;"is an administrative agency with considerable expertise in the area of utility regulation ..., its decisions should be accorded due deference."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18378" data-sentence-id="18544" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:integratednetworkservices,incvpublicutilitiescommissionofthestateofcoloradono93sa112875p2d1373june13,1994" data-prop-ids="sentence_18379"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Integrated Network Servs., Inc. v. Pub. Utils. Comm'n&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;875 P.2d 1373, 1377&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1994&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18378" data-sentence-id="18633" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;we&lt;/span&gt; give deference to PUC interpretations of applicable &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; and regulations,"&lt;/span&gt; though &lt;span class="ldml-quotation quote"&gt;"its interpretations of law do &lt;span class="ldml-pagenumber" data-vol="487" data-rep="P.3d" data-page_type="bracketed_cite" data-val="672" data-id="pagenumber_18768"&gt;&lt;/span&gt; not control &lt;span class="ldml-parenthetical"&gt;[our]&lt;/span&gt; conclusion of law."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18378" data-sentence-id="18807" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890911280" data-vids="890911280" class="ldml-reference" data-prop-ids="sentence_18633"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Pub. Serv. Co. v. Trigen-Nations Energy Co., L.L.L.P.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;982 P.2d 316, 322&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18378" data-sentence-id="18894" class="ldml-sentence"&gt;Where the PUC interprets its own certificates, the PUC is of course the proper authority to do so.&lt;/span&gt; &lt;span data-paragraph-id="18378" data-sentence-id="18993" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:thepublicutilitiescommissionofthestateofcolorado,henryezarlengo,ralphchortonvgrandvalleyruralpowerlines,incno22724447p2d27,167colo257nov18,1968" data-prop-ids="sentence_18894"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Pub. Utils. Comm'n v. Grand Valley Rural Power Lines, Inc.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;167 Colo. 257&lt;/span&gt;, &lt;span class="ldml-cite"&gt;447 P.2d 27, 28&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1968&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:mckennavnigrono20027372p2d744,150colo335june25,1962" data-prop-ids="embeddedsentence_19162,sentence_18894"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;McKenna v. Nigro&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;150 Colo. 335&lt;/span&gt;, &lt;span class="ldml-cite"&gt;372 P.2d 744, 746&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1962&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Certainly the Commission as the immediate authority issuing the certificate is in the best position to know what rights were intended to be granted thereunder."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18378" data-sentence-id="19326" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; interfere only when the PUC's interpretation of a certificate is &lt;span class="ldml-quotation quote"&gt;"clearly erroneous, arbitrary or in excess of its jurisdiction."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18378" data-sentence-id="19465" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:mckennavnigrono20027372p2d744,150colo335june25,1962" data-prop-ids="sentence_19326"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;McKenna&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;372 P.2d at 745&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="19490" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="19490" data-sentence-id="19491" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19491"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Where, as here, the validity of a decision is challenged on the ground that it violates &lt;span class="ldml-entity"&gt;the petitioner&lt;/span&gt;'s constitutional rights, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; exercises independent judgment on the law but affords deference to the PUC's factfinding and policymaking roles.&lt;/span&gt; &lt;span data-paragraph-id="19490" data-sentence-id="19747" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890911280" data-vids="890911280" class="ldml-reference" data-prop-ids="sentence_19491"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Trigen-Nations&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;982 P.2d at 322&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19490" data-sentence-id="19780" class="ldml-sentence"&gt;Such review is limited to determining whether &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the commission has regularly pursued its authority, &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the decision of the commission is just and reasonable, and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; its conclusions are in accordance with the evidence.&lt;/span&gt; &lt;span data-paragraph-id="19490" data-sentence-id="20002" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890911280" data-vids="890911280" class="ldml-reference" data-prop-ids="sentence_19780"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see also&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19780"&gt;&lt;span class="ldml-cite"&gt;§ 40-6-115&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; - &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19490" data-sentence-id="20038" class="ldml-sentence"&gt;Here, San Isabel challenges the PUC's decision only under the first consideration—whether the PUC regularly pursued its authority.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20168" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20168" data-sentence-id="20169" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20169"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The PUC has regularly pursued its authority when its &lt;span class="ldml-quotation quote"&gt;"findings of fact and conclusions were based upon adequate evidence, and ... the commission reached its decision by applying the appropriate constitutional and legislative standards."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20168" data-sentence-id="20410" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891433613" data-vids="891433613" class="ldml-reference" data-prop-ids="sentence_20169"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Durango Transp., Inc. v. Colo. Pub. Utils. Comm'n&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;122 P.3d 244, 248-49&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886835733" data-vids="886835733" class="ldml-reference" data-prop-ids="sentence_20169"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Atchison, Topeka &amp; Santa Fe Ry. Co. v. Pub. Utils. Comm'n&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;194 Colo. 263&lt;/span&gt;, &lt;span class="ldml-cite"&gt;572 P.2d 138, 141&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1977&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20168" data-sentence-id="20606" class="ldml-sentence"&gt;Such &lt;span class="ldml-quotation quote"&gt;"evidence must be viewed in the light most favorable to the PUC's decision."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20168" data-sentence-id="20688" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887144460" data-vids="887144460" class="ldml-reference" data-prop-ids="sentence_20606"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Trans Shuttle, Inc. v. Pub. Utils. Comm'n&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;89 P.3d 398, 403&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="2" data-ordinal_end="2" data-value="B. The PUC Regularly Pursued Its Authority" data-specifier="B" data-parsed="true" data-format="upper_case_letters" data-content-heading-label="B. The PUC Regularly Pursued Its Authority" id="heading_20761" data-id="heading_20761"&gt;&lt;span data-paragraph-id="20761" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="20761" data-sentence-id="20761" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="20761" data-sentence-id="20764" class="ldml-sentence"&gt;The PUC Regularly Pursued Its Authority&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="20803" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20803" data-sentence-id="20803" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20803"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; determine that the PUC had an adequate basis for concluding that station power should be treated distinctly from other electric services and thus that San Isabel's exclusive right to render electric service in its certificated territory does not include the provision of station power to vertically integrated utilities.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-ordinal_start="1" data-ordinal_end="1" data-value="1. Provision of Station Power Is Treated Differently in the Utility Industry and Involves No Sale When Self-Supplied" data-specifier="1" data-parsed="true" data-format="number" data-content-heading-label="1. Provision of Station Power Is Treated Differently in the Utility Industry and Involves No Sale When Self-Supplied" id="heading_21130" data-id="heading_21130"&gt;&lt;span data-paragraph-id="21130" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="21130" data-sentence-id="21130" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="21130" data-sentence-id="21133" class="ldml-sentence"&gt;Provision of Station Power Is Treated Differently in the Utility Industry and Involves No Sale When Self-Supplied&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="21246" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21246" data-sentence-id="21246" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21246"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; There is no debate that station power is electric energy.&lt;/span&gt; &lt;span data-paragraph-id="21246" data-sentence-id="21308" class="ldml-sentence"&gt;Both the FERC and the PUC define station power as &lt;span class="ldml-quotation quote"&gt;"the electric energy used for the heating, lighting, air-conditioning, and office equipment needs of the buildings on a generating facility's site, and for operating the electric equipment that is on the generating facility's site."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21246" data-sentence-id="21591" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21308"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;PJM II&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 61,889&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:cogentrixofalamosa,llcvsanluisvalleyruraleleccoop,caseno14d-1013e" data-prop-ids="sentence_21308"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Cogentrix of Alamosa, LLC v. San Luis Valley Rural Elec. Coop.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;Case No. 14D-1013E&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, Decision No. CI5-&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;0307-1 ¶ 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:2015wl1675779,at2colopuc2015"&gt;&lt;span class="ldml-cite"&gt;2015 WL 1675779, at *2&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. P.U.C.&lt;/span&gt; &lt;span class="ldml-date"&gt;2015&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="21765" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21765" data-sentence-id="21765" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21765"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; However, the utility industry has traditionally distinguished station power from other types of electricity.&lt;/span&gt; &lt;span data-paragraph-id="21765" data-sentence-id="21878" class="ldml-sentence"&gt;Station power is necessary to avoid damage to the generation facilities of a utility.&lt;/span&gt; &lt;span data-paragraph-id="21765" data-sentence-id="21964" class="ldml-sentence"&gt;As the Minnesota PUC explains, &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"unlike traditional retail &lt;span class="ldml-parenthetical"&gt;[electric]&lt;/span&gt; service, &lt;span class="ldml-parenthetical"&gt;[station power]&lt;/span&gt; is not being provided to a household, institution, or business for ultimate consumption apart from the production of electricity.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Instead, the service is being provided to a generating facility to prevent damage to the facility."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21765" data-sentence-id="22288" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inthematterofthecomplaintofnoblescoopelecforaservterritoryviolationbymoriverenergyservsworthingtonpubutils,docketnoet-10,e-126,e-332c-02-1501at11,2003wl1957117,at8minnpuc2003" data-prop-ids="sentence_21964"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In the Matter of the Complaint of Nobles Coop. Elec. for a Serv. Territory Violation by Mo. River Energy Servs. &amp; Worthington Pub. Utils.,&lt;/i&gt; Docket No. ET-10, E-126, E-332/&lt;/span&gt;&lt;span class="ldml-cite"&gt;C-02-1501&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 11&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2003 WL 1957117, at *8&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Minn. P.U.C.&lt;/span&gt; &lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21765" data-sentence-id="22519" class="ldml-sentence"&gt;Thus, even when it is provided by third &lt;span class="ldml-entity"&gt;parties&lt;/span&gt;, the &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"service is unique, clearly defined, and non-transferrable.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;It is limited in scope to the amount of power necessary to prevent damage to the turbine systems when self-generation is impossible."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21765" data-sentence-id="22766" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inthematterofthecomplaintofnoblescoopelecforaservterritoryviolationbymoriverenergyservsworthingtonpubutils,docketnoet-10,e-126,e-332c-02-1501at11,2003wl1957117,at8minnpuc2003" data-prop-ids="sentence_22519"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at *9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21765" data-sentence-id="22777" class="ldml-sentence"&gt;Accordingly, station power is distinguished as an &lt;span class="ldml-quotation quote"&gt;"internal cost"&lt;/span&gt; that is &lt;span class="ldml-quotation quote"&gt;"necessary to operate the facility and enable it to generate electricity."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21765" data-sentence-id="22926" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22777"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;PJM II&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;at 61,891&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22777"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Penntech Papers&lt;/span&gt;, &lt;/i&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Inc.,&lt;/i&gt; 48 FERC ¶ 61,120, at 61,423&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;span class="ldml-pagenumber" data-vol="487" data-rep="P.3d" data-page_type="bracketed_cite" data-val="673" data-id="pagenumber_23018"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="23018" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="23018" data-sentence-id="23019" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23019"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Historically, vertically integrated utilities — like Black Hills — have netted the energy consumed as station power against their gross energy output instead of charging themselves for it.&lt;/span&gt; &lt;span data-paragraph-id="23018" data-sentence-id="23212" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893216787" data-vids="893216787" class="ldml-reference" data-prop-ids="sentence_23019"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Calpine&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;702 F.3d at 43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23019"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;PJM II&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;at 61,889&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_23342,sentence_23019"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Cal. Indep. Sys. Operator&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Corp.,&lt;/i&gt; 111 FERC ¶ 61,452, at 62,995 n.11&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;reviewing &lt;i class="ldml-italics"&gt;PJM II&lt;/i&gt; and finding no evidence that the traditional accounting treatment of station power differed in the West&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23018" data-sentence-id="23465" class="ldml-sentence"&gt;Thus, by netting station power against the gross energy output, the energy industry has treated station power as distinct from other types of electric service.&lt;/span&gt; &lt;span data-paragraph-id="23018" data-sentence-id="23625" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23465"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;PJM II&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;at 61,889-90&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23018" data-sentence-id="23652" class="ldml-sentence"&gt;In other words, by their use of station power to produce a net energy output to the electrical grid, electric generation facilities like the Wind Facilities here are distinguishable from other &lt;span class="ldml-quotation quote"&gt;"consumers"&lt;/span&gt; of electricity.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="23872" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="23872" data-sentence-id="23872" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23872"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Many jurisdictions have codified the distinct treatment of station power in &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; and regulations.&lt;/span&gt; &lt;span data-paragraph-id="23872" data-sentence-id="23978" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="statute:/ks/statutes/66/1,173_b" data-prop-ids="embeddedsentence_24027,sentence_23872"&gt;&lt;span class="ldml-cite"&gt;Kan. Stat. Ann. § 66-1,173&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2021&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[S]&lt;/span&gt;tation power shall not be deemed to be retail electric service for the purposes of &lt;span class="ldml-entity"&gt;this act&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/943869266" data-vids="943869266" class="ldml-reference" data-prop-ids="embeddedsentence_24159,sentence_23872"&gt;&lt;span class="ldml-cite"&gt;Wis. Stat. § 196.495&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2021&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Nothing in &lt;span class="ldml-entity"&gt;this section&lt;/span&gt; shall preclude any public utility ... from extending electric service to its own property or facilities ...."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/944861247" data-vids="944861247" class="ldml-reference" data-prop-ids="sentence_23872"&gt;&lt;span class="ldml-cite"&gt;Minn. Stat. § 216B.42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, subdiv. 2 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2021&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"Notwithstanding the provisions in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/944409657" data-vids="944409657" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;section 216B.39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, any electric utility may extend electric lines for electric service to its own utility property and facilities."&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="regulation:/or/regulations/330/160/0015_22" data-prop-ids="embeddedsentence_24543"&gt;&lt;span class="ldml-cite"&gt;Or. Admin. R. 330-160-0015&lt;span class="ldml-parenthetical"&gt;(22)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2021&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;separately defining &lt;span class="ldml-quotation quote"&gt;"station service"&lt;/span&gt; as the energy used to operate an electric or thermal generating plant&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="24652" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="24652" data-sentence-id="24652" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24652"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Although Colorado has not similarly codified the distinct treatment of station power, the PUC indicated fifteen years ago that it would not prohibit a utility from self-supplying station power to its generation facilities even when located in another utility's territory.&lt;/span&gt; &lt;span data-paragraph-id="24652" data-sentence-id="24928" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:aquila,incvsanisabelelecassn,no03f-282e" data-prop-ids="sentence_24652"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Aquila, Inc. v. San Isabel Elec. Ass'n&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;No. 03F-282E&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Decision&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. C05-0180 ¶ 5, 2005 WL 433145, *1 &lt;span class="ldml-parenthetical"&gt;(Colo. P.U.C. 2005)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;&lt;i class="ldml-italics"&gt;(" Aquila II")&lt;/i&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24652" data-sentence-id="25069" class="ldml-sentence"&gt;In that decision, the PUC clarified that, although a utility could not service its own headquarters and warehouse buildings in another's certificated area, it &lt;span class="ldml-quotation quote"&gt;"did not express nor intend that &lt;span class="ldml-parenthetical"&gt;[its]&lt;/span&gt; findings would extend to a utility's ability to provide service to its &lt;i class="ldml-italics"&gt;generation or substation facilities&lt;/i&gt; located in the service territory of another utility."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="24652" data-sentence-id="25428" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25069"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24652" data-sentence-id="25450" class="ldml-sentence"&gt;The PUC has not since expressed a different view on this point.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="25513" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="25513" data-sentence-id="25513" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25513"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The ALJ's Recommended Decision, which the PUC adopted, examined the historical practice described above where vertically integrated utilities would net self-supplied station power against gross energy output and treat it differently from other electric services.&lt;/span&gt; &lt;span data-paragraph-id="25513" data-sentence-id="25780" class="ldml-sentence"&gt;Specifically, the ALJ considered the FERC's conclusion in &lt;i class="ldml-italics"&gt;PJM II&lt;/i&gt; that station power is &lt;span class="ldml-quotation quote"&gt;"necessary to operate the facility and enable it to generate electricity"&lt;/span&gt; and is thus &lt;span class="ldml-quotation quote"&gt;"an internal cost of the facility."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="25513" data-sentence-id="25989" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25780"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;PJM II&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;at 61,891&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26012" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="26012" data-sentence-id="26012" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26012"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The ALJ further relied on the FERC's conclusion that, because station power is an internal cost, &lt;span class="ldml-quotation quote"&gt;"there is no sale &lt;span class="ldml-parenthetical"&gt;(for end use or otherwise)&lt;/span&gt; between two different &lt;span class="ldml-entity"&gt;parties&lt;/span&gt;, but only one &lt;span class="ldml-entity"&gt;party&lt;/span&gt; using its own generating resources for the purposes of self-supply and accounting for such usage through the practice of netting."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26012" data-sentence-id="26339" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26012"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 61,890&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26012" data-sentence-id="26359" class="ldml-sentence"&gt;In short, when a vertically integrated utility supplies its own station power, it is not causing a third &lt;span class="ldml-entity"&gt;party&lt;/span&gt; to incur the costs associated with generating such electricity and thus participates in neither a retail sale nor a wholesale sale.&lt;/span&gt; &lt;span data-paragraph-id="26012" data-sentence-id="26602" class="ldml-sentence"&gt;Instead, the vertically integrated utility itself incurs the costs through use of its own facilities.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26703" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="26703" data-sentence-id="26704" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26704"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Applying those principles here, the PUC properly concluded that no sale occurs when Black Hills self-supplies station power to its own Wind Facilities using its own transmission network and electric generation resources.&lt;/span&gt; &lt;span data-paragraph-id="26703" data-sentence-id="26929" class="ldml-sentence"&gt;Consequently, the station power needed to operate the turbines' electronics and auxiliary equipment at the Wind Facilities does not fall within the &lt;span class="ldml-quotation quote"&gt;"electric service"&lt;/span&gt; contemplated by San Isabel's CPCN.&lt;a href="#note-fr4" class="ldml-noteanchor" id="note-ref-fr4"&gt;4&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-pagenumber" data-vol="487" data-rep="P.3d" data-page_type="bracketed_cite" data-val="674" data-id="pagenumber_27131"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-ordinal_start="2" data-ordinal_end="2" data-value="2. Self-Supply of Station Power Avoids Inefficient Duplication and Is Thus Consistent with the Doctrine of Regulated Monopoly" data-specifier="2" data-parsed="true" data-format="number" data-content-heading-label=" 2. Self-Supply of Station Power Avoids Inefficient Duplication and Is Thus Consistent with the Doctrine of Regulated Monopoly" id="heading_27131" data-id="heading_27131"&gt;&lt;span data-paragraph-id="27131" class="ldml-paragraph "&gt; &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="27131" data-sentence-id="27132" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="27131" data-sentence-id="27135" class="ldml-sentence"&gt;Self-Supply of Station Power Avoids Inefficient Duplication and Is Thus Consistent with the Doctrine of Regulated Monopoly&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="27257" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27257" data-sentence-id="27257" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27257"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The ALJ concluded that &lt;span class="ldml-quotation quote"&gt;"an expensive and inefficient duplication of facilities would be created if the &lt;span class="ldml-parenthetical"&gt;[PUC]&lt;/span&gt; were to order San Isabel to provide station power"&lt;/span&gt; to the Wind Facilities, which &lt;span class="ldml-quotation quote"&gt;"would be contrary to the Commission's duty to avoid duplication of public utility facilities and contrary to the doctrine of regulated monopoly."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27257" data-sentence-id="27598" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27607" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="27607" data-sentence-id="27608" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27608"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"Colorado has long been dedicated to the principle of &lt;span class="ldml-quotation quote"&gt;‘regulated monopoly’&lt;/span&gt; in the conduct of public utilities operations."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27607" data-sentence-id="27735" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:thepublicservicecompanyofcoloradovthepublicutilitiescommissionofthestateofcoloradono86sa461765p2d1015,99pur4th549dec5,1988" data-prop-ids="sentence_27608"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Pub. Serv. Co. v. Pub. Utils. Comm'n&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;765 P.2d 1015, 1021&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27607" data-sentence-id="27807" class="ldml-sentence"&gt;The doctrine is &lt;span class="ldml-quotation quote"&gt;"designed to prevent duplication of facilities and competition between utilities, and to authorize new utilities in a field only when existing ones are found to be inadequate."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27607" data-sentence-id="28000" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:thewesterncoloradopowercompanyvthepublicutilitiescommissionofthestateofcolorado,henryezarlengo,ralphchortonno21136411p2d785feb14,1966" data-prop-ids="sentence_27807"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;W. Colo. Power Co. v.&lt;/i&gt; &lt;i class="ldml-italics"&gt;Pub. Utils. Comm'n&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;159 Colo. 262&lt;/span&gt;, &lt;span class="ldml-cite"&gt;411 P.2d 785, 791&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1966&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27607" data-sentence-id="28083" class="ldml-sentence"&gt;Adopting the reasoning of the commissioner, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; has asked: &lt;span class="ldml-quotation quote"&gt;"Why should the consuming public pay for, and maintain, two sources of power if one will do ...?"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27607" data-sentence-id="28247" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:thewesterncoloradopowercompanyvthepublicutilitiescommissionofthestateofcolorado,henryezarlengo,ralphchortonno21136411p2d785feb14,1966" data-prop-ids="sentence_28083"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27607" data-sentence-id="28251" class="ldml-sentence"&gt;Prohibiting the self-supply of station power would result in inefficient duplication and thus undermine the doctrine of regulated monopoly.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="28390" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="28390" data-sentence-id="28390" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28390"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Here, the PUC approved the siting and construction of the Wind Facilities and their associated transmission lines and substations without objection from San Isabel.&lt;/span&gt; &lt;span data-paragraph-id="28390" data-sentence-id="28559" class="ldml-sentence"&gt;The interconnected lines were designed to allow the back-feed of power to the Wind Facilities without additional equipment.&lt;/span&gt; &lt;span data-paragraph-id="28390" data-sentence-id="28683" class="ldml-sentence"&gt;The PUC's approval of this arrangement was consistent with the provision in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;San Isabel's&lt;/span&gt; &lt;span class="ldml-cite"&gt;1970 CPCN&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; allowing another utility to locate substations and other needed facilities in San Isabel's certificated territory.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="28896" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="28896" data-sentence-id="28896" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28896"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Black Hills argued to the ALJ that San Isabel lacks existing infrastructure to supply station power to the Wind Facilities.&lt;/span&gt; &lt;span data-paragraph-id="28896" data-sentence-id="29024" class="ldml-sentence"&gt;Though both &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; agree that the ALJ did not make a factual finding on whether San Isabel has such infrastructure, San Isabel has neither pointed to any specific infrastructure that could serve the Wind Facilities nor rebutted Black Hills' assertion that San Isabel has no facilities in the relevant vicinity.&lt;/span&gt; &lt;span data-paragraph-id="28896" data-sentence-id="29336" class="ldml-sentence"&gt;Instead, San Isabel claims that it can provide electric service through unspecified, existing infrastructure or, in the alternative, construct electric infrastructure that would distribute electricity to the Wind Facilities rather than transmit generated electricity from the Wind Facilities, which San Isabel contends is what the existing infrastructure does.&lt;/span&gt; &lt;span data-paragraph-id="28896" data-sentence-id="29697" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; are not persuaded that this distinction makes new construction non-duplicative since Black Hills' Rattlesnake Butte 115-kilovolt transmission line and substation can already accommodate two-way power flows out of &lt;i class="ldml-italics"&gt;and&lt;/i&gt; into the Wind Facilities.&lt;/span&gt; &lt;span data-paragraph-id="28896" data-sentence-id="29943" class="ldml-sentence"&gt;Thus, the PUC's determination effectuates the doctrine's goal of avoiding inefficient duplication.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-ordinal_start="3" data-ordinal_end="3" data-value="3. The PUC Applied Appropriate Legal Standards" data-specifier="3" data-parsed="true" data-format="number" data-content-heading-label="3. The PUC Applied Appropriate Legal Standards" id="heading_30041" data-id="heading_30041"&gt;&lt;span data-paragraph-id="30041" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="30041" data-sentence-id="30041" class="ldml-sentence"&gt;3.&lt;/span&gt; &lt;span data-paragraph-id="30041" data-sentence-id="30044" class="ldml-sentence"&gt;The PUC Applied Appropriate Legal Standards&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="30087" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="30087" data-sentence-id="30087" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30087"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; also reject San Isabel's contention that the PUC failed to comply with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30087"&gt;&lt;span class="ldml-cite"&gt;section 40-9.5-105&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;this court&lt;/span&gt;'s precedent&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30087" data-sentence-id="30215" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30215"&gt;&lt;span class="ldml-cite"&gt;Section 40-9.5-105&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; allows the PUC to reduce service rights previously granted to a utility in its CPCN only when it determines, after a hearing, that the utility is unwilling or unable to serve an existing or newly developing area within its territory.&lt;/span&gt; &lt;span data-paragraph-id="30087" data-sentence-id="30471" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-entity"&gt;the section&lt;/span&gt; states that&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_30508" class="ldml-blockquote"&gt;&lt;span data-sentence-id="30508" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;henever the public utilities commission, after a hearing upon complaint, finds that an electric public utility, including a cooperative electric association, &lt;i class="ldml-italics"&gt;is unwilling or unable to serve an existing or newly developing load within its certificated territory and that the public convenience and necessity requires a change, said commission may, in its discretion, delete from the certificate of said public utility or association that portion of said territory which the public utility or association is unwilling or unable to serve&lt;/i&gt; ..., having due regard to due process of law and to all the &lt;span class="ldml-pagenumber" data-vol="487" data-rep="P.3d" data-page_type="bracketed_cite" data-val="675" data-id="pagenumber_31106"&gt;&lt;/span&gt; rights of the respective &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; and to public convenience and necessity.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="31180" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="31180" data-sentence-id="31181" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 40-9.5-105&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="31214" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="31214" data-sentence-id="31214" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31214"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Interpreting this language, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have held that, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[i]&lt;/span&gt;n a proceeding which results in the &lt;i class="ldml-italics"&gt;reduction of a previously certificated area&lt;/i&gt; , the requirements of due process are satisfied ... if there is substantial evidence in the record to support a finding that the certificated public utility is unwilling or unable to serve its certificated area and that public convenience and necessity require the change."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="31214" data-sentence-id="31623" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895649456" data-vids="895649456" class="ldml-reference" data-prop-ids="sentence_31214"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Town of Fountain v. Pub. Utils. Comm'n&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;167 Colo. 302&lt;/span&gt;, &lt;span class="ldml-cite"&gt;447 P.2d 527, 529-30&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1968&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="31723" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="31723" data-sentence-id="31724" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31724"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Here, the PUC interpreted the scope of San Isabel's rights provided by the certificate's language; it did not &lt;span class="ldml-quotation quote"&gt;"delet&lt;span class="ldml-parenthetical"&gt;[e]&lt;/span&gt;"&lt;/span&gt; certificated territory.&lt;/span&gt; &lt;span data-paragraph-id="31723" data-sentence-id="31873" class="ldml-sentence"&gt;Where the PUC merely interprets the certificate's language but does not take away previously granted rights, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; should not interfere unless the interpretation is &lt;span class="ldml-quotation quote"&gt;"clearly erroneous, arbitrary or in excess of its jurisdiction."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="31723" data-sentence-id="32108" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:mckennavnigrono20027372p2d744,150colo335june25,1962" data-prop-ids="sentence_31873"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;McKenna&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;372 P.2d at 746&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:thepublicutilitiescommissionofthestateofcolorado,henryezarlengo,ralphchortonvgrandvalleyruralpowerlines,incno22724447p2d27,167colo257nov18,1968" data-prop-ids="sentence_31873"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Grand Valley Rural Power Lines&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;447 P.2d at 28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="32192" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="32192" data-sentence-id="32192" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32192"&gt;&lt;span class="ldml-cite"&gt;¶41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; San Isabel relies on decisions where the PUC determined whether one utility could encroach on areas clearly certificated to another utility—not where the PUC interpreted the scope of rights provided in the certificate.&lt;/span&gt; &lt;span data-paragraph-id="32192" data-sentence-id="32415" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:thepublicservicecompanyofcoloradovthepublicutilitiescommissionofthestateofcoloradono86sa461765p2d1015,99pur4th549dec5,1988" data-prop-ids="embeddedsentence_32454,sentence_32192"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Pub. Serv. Co.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;765 P.2d at 1015&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;using the point of use test, and not interpreting certificate language, to determine whether an electric utility could extend its existing service to a customer's physically unconnected facilities in another utility's district&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:thepublicutilitiescommissionofthestateofcoloradoandhenryezarlengo,howardsbjellandvpoudrevalleyruralelectricassociation,incnos24693,24695480p2d106,173colo364dec28,1970" data-prop-ids="embeddedsentence_32779,sentence_32192"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Pub. Utils. Comm'n v. Poudre Valley Rural Elec. Ass'n&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;173 Colo. 364&lt;/span&gt;, &lt;span class="ldml-cite"&gt;480 P.2d 106, 108&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1970&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that where an area was assigned to a utility in prior litigation, the PUC could not assign service in that area to another utility based only on its ability to better service the territory&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:westerncoloradopowercompanyvthepublicutilitiescommissionofthestateofcolorado,henryezarlengo,ralphchortonno21232428p2d922,163colo61june12,1967" data-prop-ids="embeddedsentence_33064,sentence_32192"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;W. Colo. Power Co. v. Pub. Utils. Comm'n&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;163 Colo. 61&lt;/span&gt;, &lt;span class="ldml-cite"&gt;428 P.2d 922, 927-28&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1967&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;invalidating a PUC order to the extent that it allowed a new certificate to supersede existing ones based on the original utility having not actually provided service in the area&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32192" data-sentence-id="33245" class="ldml-sentence"&gt;Such &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; are inapposite here.&lt;/span&gt; &lt;span data-paragraph-id="32192" data-sentence-id="33277" class="ldml-sentence"&gt;None involved the PUC interpreting the scope of a utility's certificated rights but instead addressed PUC determinations regarding whether a utility could intrude on another's certificated area for independent reasons.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="33495" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="33495" data-sentence-id="33495" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33495"&gt;&lt;span class="ldml-cite"&gt;¶42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;This case&lt;/span&gt; is also distinguishable from &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887614152" data-vids="887614152" class="ldml-reference" data-prop-ids="sentence_33495"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Public Utilities Commission v. Colorado Motorway, Inc.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;165 Colo. 1&lt;/span&gt;, &lt;span class="ldml-cite"&gt;437 P.2d 44&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1968&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, where &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that the PUC's determination was not justified by its power to interpret its own certificate.&lt;/span&gt; &lt;span data-paragraph-id="33495" data-sentence-id="33735" class="ldml-sentence"&gt;There, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; clarified that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[n]&lt;/span&gt;o one questions &lt;span class="ldml-parenthetical"&gt;[the PUC's]&lt;/span&gt; authority to &lt;span class="ldml-quotation quote"&gt;‘interpret’&lt;/span&gt; "&lt;/span&gt; its own certificates, but the PUC did so improperly through a &lt;span class="ldml-quotation quote"&gt;"general investigation held for the purpose of promulgating rules and regulations."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="33495" data-sentence-id="33965" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887614152" data-vids="887614152" class="ldml-reference" data-prop-ids="sentence_33735"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 47-48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33495" data-sentence-id="33979" class="ldml-sentence"&gt;The PUC &lt;span class="ldml-quotation quote"&gt;"cannot, regardless of the type of evidence that may be presented to it, revoke, amend or alter permits or certificates of participating &lt;span class="ldml-entity"&gt;parties&lt;/span&gt;"&lt;/span&gt; in that manner without providing adequate notice or an opportunity to be heard.&lt;/span&gt; &lt;span data-paragraph-id="33495" data-sentence-id="34213" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887614152" data-vids="887614152" class="ldml-reference" data-prop-ids="sentence_33979"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33495" data-sentence-id="34224" class="ldml-sentence"&gt;The same concerns do not exist in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33495" data-sentence-id="34269" class="ldml-sentence"&gt;The PUC made its interpretation during an adjudication in which San Isabel was &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;, filed a response, and thus had notice and an opportunity to be heard.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34426" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="34426" data-sentence-id="34427" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34427"&gt;&lt;span class="ldml-cite"&gt;¶43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Interpreting the scope of San Isabel's CPCN, the ALJ made a legal determination that the self-supply of station power by Black Hills to the Wind Facilities is not subject to the exclusive service provisions of San Isabel's certificate.&lt;/span&gt; &lt;span data-paragraph-id="34426" data-sentence-id="34667" class="ldml-sentence"&gt;The ALJ did not make a finding that it was proper to &lt;i class="ldml-italics"&gt;modify&lt;/i&gt; portions of the certificated service territory.&lt;/span&gt; &lt;span data-paragraph-id="34426" data-sentence-id="34775" class="ldml-sentence"&gt;Accordingly, the procedure set forth in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34775"&gt;&lt;span class="ldml-cite"&gt;section 40-9.5-105&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and clarified in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895649456" data-vids="895649456" class="ldml-reference" data-prop-ids="sentence_34775"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Town of Fountain&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not apply.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34886" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34886" data-sentence-id="34886" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34886"&gt;&lt;span class="ldml-cite"&gt;¶44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In sum, the PUC applied the appropriate standards to conclude that San Isabel has no right to provide station power to Black Hills' facilities.&lt;/span&gt; &lt;span data-paragraph-id="34886" data-sentence-id="35034" class="ldml-sentence"&gt;Because its conclusions were also based on adequate justifications, the PUC regularly pursued its authority in determining that Black Hills, as a vertically integrated utility, may self-supply station power.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-ordinal_start="4" data-ordinal_end="4" data-value="4. Allowing Self-Supply of Station Power Promotes Colorado's Renewable Energy Policy" data-specifier="4" data-parsed="true" data-format="number" data-content-heading-label="4. Allowing Self-Supply of Station Power Promotes Colorado's Renewable Energy Policy" id="heading_35241" data-id="heading_35241"&gt;&lt;span data-paragraph-id="35241" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="35241" data-sentence-id="35241" class="ldml-sentence"&gt;4.&lt;/span&gt; &lt;span data-paragraph-id="35241" data-sentence-id="35244" class="ldml-sentence"&gt;Allowing Self-Supply of Station Power Promotes Colorado's Renewable Energy Policy&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="35325" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="35325" data-sentence-id="35325" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35325"&gt;&lt;span class="ldml-cite"&gt;¶45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Though not essential to our decision, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; note that permitting self-supply of station &lt;span class="ldml-pagenumber" data-vol="487" data-rep="P.3d" data-page_type="bracketed_cite" data-val="676" data-id="pagenumber_35414"&gt;&lt;/span&gt; power under &lt;span class="ldml-entity"&gt;the circumstances of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt; is also consistent with Colorado's public policy goal of promoting renewable energy.&lt;/span&gt; &lt;span data-paragraph-id="35325" data-sentence-id="35543" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_35593,sentence_35325"&gt;&lt;span class="ldml-cite"&gt;§ 40-2-124&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(E)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;requiring qualifying retail electric utilities to generate or cause to be generated thirty percent of their retail electric services from renewable energy resources&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35325"&gt;&lt;span class="ldml-refname"&gt;Colo. Exec. Order&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. D 2017&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; 015 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;July 11, 2017&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(promoting Colorado's transition to cleaner energy resources)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35325" data-sentence-id="35872" class="ldml-sentence"&gt;The PUC itself has acknowledged the &lt;span class="ldml-quotation quote"&gt;"important public policies concerning increased use of renewable resources for the generation of electricity."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35325" data-sentence-id="36019" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36019"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;In re Tri-State Generation and Transmission Ass'n&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;No. 09A-324E&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, Decision No. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36019"&gt;&lt;span class="ldml-cite"&gt;R10-1245 ¶ 550&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:2010wl5865981colopuc2010" data-prop-ids="sentence_36019"&gt;&lt;span class="ldml-cite"&gt;2010 WL 5865981&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. P.U.C.&lt;/span&gt; &lt;span class="ldml-date"&gt;2010&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35325" data-sentence-id="36150" class="ldml-sentence"&gt;More broadly, the PUC has noted that it &lt;span class="ldml-quotation quote"&gt;"is in the best interests of the citizens of Colorado to develop and utilize renewable resources to the maximum practicable extent."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35325" data-sentence-id="36323" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In the Matter of the Application of Black Hills/Colo. Elec. Util. Co, LP&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;No. 13A-0445E&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36150"&gt;&lt;span class="ldml-refname"&gt;Decision&lt;/span&gt; &lt;span class="ldml-cite"&gt;No. C15-0373 ¶ 17, 2015 WL 1909766, *4 &lt;span class="ldml-parenthetical"&gt;(Colo. P.U.C. 2015)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36150"&gt;&lt;span class="ldml-cite"&gt;Ch. 355, sec. 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36150"&gt;&lt;span class="ldml-cite"&gt;§ 40-2-124&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36150"&gt;&lt;span class="ldml-cite"&gt;2005 Colo. Sess. Laws 2323, 2336&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="36553" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="36553" data-sentence-id="36553" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36553"&gt;&lt;span class="ldml-cite"&gt;¶46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; To construe San Isabel's CPCN to give it the exclusive right to supply Black Hills' station power would undermine this policy goal because, as the PUC noted in its brief, there is a &lt;span class="ldml-quotation quote"&gt;"need for renewable energy resources to be sited wherever there is most consistent wind speed or hours of sunlight."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="36553" data-sentence-id="36856" class="ldml-sentence"&gt;If vertically integrated utilities need to negotiate for station power services or have certificated energy generators build new and duplicative infrastructure to accommodate such utilities whenever it is most optimal to locate wind farms or other renewable energy resources in another utility's certificated area, the additional costs and burdens will likely, as the PUC argued, &lt;span class="ldml-quotation quote"&gt;"have a chilling effect on renewable resource development through &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-ordinal_start="3" data-ordinal_end="3" data-value="C. San Isabel Was Not Deprived of Due Process" data-specifier="C" data-parsed="true" data-format="upper_case_letters" data-content-heading-label="C. San Isabel Was Not Deprived of Due Process" id="heading_37313" data-id="heading_37313"&gt;&lt;span data-paragraph-id="37313" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="37313" data-sentence-id="37313" class="ldml-sentence"&gt;C.&lt;/span&gt; &lt;span data-paragraph-id="37313" data-sentence-id="37316" class="ldml-sentence"&gt;San Isabel Was Not Deprived of Due Process&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="37358" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="37358" data-sentence-id="37359" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37359"&gt;&lt;span class="ldml-cite"&gt;¶47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The right to render electric service under an existing certificate is a property right that cannot be affected without due process.&lt;/span&gt; &lt;span data-paragraph-id="37358" data-sentence-id="37495" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887778994" data-vids="887778994" class="ldml-reference" data-prop-ids="sentence_37359"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;City of Greeley v. Poudre Valley Rural Elec. Ass'n&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;744 P.2d 739, 745&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37358" data-sentence-id="37579" class="ldml-sentence"&gt;San Isabel asserts that the PUC deprived it of due process under both the Colorado and U.S. Constitutions by failing to provide San Isabel with a hearing and to consider whether San Isabel was unwilling or unable to serve its certificated area under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37579"&gt;&lt;span class="ldml-cite"&gt;section 40-9.5-105&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37358" data-sentence-id="37852" class="ldml-sentence"&gt;But because the PUC regularly pursued its authority in concluding that San Isabel's rights to render electric service did not include the provision of station power to vertically integrated utilities in its certificated territory, San Isabel never had a property right in providing this particular service.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="38158" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="38158" data-sentence-id="38158" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38158"&gt;&lt;span class="ldml-cite"&gt;¶48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Without a property right, San Isabel could not have been deprived of due process under either the Colorado or the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38158"&gt;&lt;span class="ldml-cite"&gt;U.S. Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38158" data-sentence-id="38295" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890179647" data-vids="890179647" class="ldml-reference" data-prop-ids="embeddedsentence_38400,sentence_38158"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Bd. of Regents of State Colls. v. Roth&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;408 U.S. 564, 570-71&lt;/span&gt;, &lt;span class="ldml-cite"&gt;92 S.Ct. 2701&lt;/span&gt;, &lt;span class="ldml-cite"&gt;33 L.Ed.2d 548&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1972&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;o determine whether due process requirements apply in the first place, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must look ... to see if the interest is within the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38158"&gt;&lt;span class="ldml-cite"&gt;Fourteenth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s protection of liberty and property."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see also&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_38628,sentence_38158"&gt;&lt;span class="ldml-cite"&gt;U.S. Const. amend. XIV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;§ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;(&lt;span class="ldml-quotation quote"&gt;"No State shall ... deprive any person of life, liberty, or &lt;i class="ldml-italics"&gt;property,&lt;/i&gt; without due process of law ...."&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_38778,sentence_38158"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. II, § 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;(&lt;span class="ldml-quotation quote"&gt;"No person shall be deprived of life, liberty or &lt;i class="ldml-italics"&gt;property,&lt;/i&gt; without due process of law."&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-ordinal_start="3" data-parsed="true" data-ordinal_end="3" data-value="III. Conclusion" data-specifier="III" data-types="conclusion" data-format="upper_case_roman_numeral" data-content-heading-label="III. Conclusion" data-confidences="very_high" id="heading_38885" data-id="heading_38885"&gt;&lt;span data-paragraph-id="38885" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="38885" data-sentence-id="38885" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="38885" data-sentence-id="38890" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="38900" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="38900" data-sentence-id="38900" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38900"&gt;&lt;span class="ldml-cite"&gt;¶49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; For the foregoing reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that the PUC regularly pursued its authority and applied proper standards in determining that San Isabel has no right under its CPCN to provide station power to Black Hills' wind farms located in San Isabel's service territory.&lt;/span&gt; &lt;span data-paragraph-id="38900" data-sentence-id="39167" class="ldml-sentence"&gt;Therefore, Black Hills, as a vertically integrated utility, may continue to self-supply such power using its own interconnected transmission network and electric generation resources.&lt;/span&gt; &lt;span data-paragraph-id="38900" data-sentence-id="39351" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; also determine that the PUC's decision did not violate San Isabel's due process rights under either the Colorado or U.S. Constitutions because it had no property right in the provision of station power.&lt;/span&gt; &lt;span data-paragraph-id="38900" data-sentence-id="39557" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the judgment of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; upholding the PUC's decision.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="39644" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr1" class="ldml-notemarker" id="note-fr1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="39644" data-sentence-id="39645" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;PJM II&lt;/i&gt; was the second in a series of orders issued by the &lt;span class="ldml-entity"&gt;Federal Energy Regulatory Commission&lt;/span&gt; addressing the treatment of station power in the Pennsylvania-New Jersey-Maryland &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"PJM"&lt;/span&gt;)&lt;/span&gt; electricity market.&lt;/span&gt; &lt;span data-paragraph-id="39644" data-sentence-id="39850" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39645"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;PJM Interconnection, LLC&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;95 FERC ¶ 61,470&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;("&lt;i class="ldml-italics"&gt;PJM III&lt;/i&gt; ")&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39645"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;PJM Interconnection, LLC&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;93 FERC ¶ 61,061&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2000&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;("&lt;i class="ldml-italics"&gt;PJM I&lt;/i&gt; ")&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="39980" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr2" class="ldml-notemarker" id="note-fr2"&gt;2&lt;/a&gt; &lt;span data-paragraph-id="39980" data-sentence-id="39981" class="ldml-sentence"&gt;In accordance with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39981"&gt;&lt;span class="ldml-cite"&gt;section 40-9.5-103&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2020&lt;/span&gt;)&lt;/span&gt;, San Isabel's members have voted to exempt San Isabel from PUC regulation under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39981"&gt;&lt;span class="ldml-cite"&gt;articles 1 through 7 of title 40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;C.R.S. San Isabel&lt;/span&gt; is instead regulated by the PUC under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39981"&gt;&lt;span class="ldml-cite"&gt;sections 40-9.5-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to -107, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2020&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="39980" data-sentence-id="40248" class="ldml-sentence"&gt;Under those provisions, the PUC retains authority over San Isabel's right to serve as well as complaints about rates and other matters.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="40383" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr3" class="ldml-notemarker" id="note-fr3"&gt;3&lt;/a&gt; &lt;span data-paragraph-id="40383" data-sentence-id="40384" class="ldml-sentence"&gt;When San Isabel initiated the action, Black Hills jointly owned the Busch Ranch facility with &lt;span class="ldml-entity"&gt;AltaGas Renewable Energy Colorado LLC&lt;/span&gt;, each having a fifty percent undivided interest.&lt;/span&gt; &lt;span data-paragraph-id="40383" data-sentence-id="40565" class="ldml-sentence"&gt;Black Hills purchased AltaGas, which thus became &lt;span class="ldml-entity"&gt;Black Hills Colorado Wind, LLC&lt;/span&gt;, an indirect subsidiary and non-regulated affiliate of Black Hills.&lt;/span&gt; &lt;span data-paragraph-id="40383" data-sentence-id="40713" class="ldml-sentence"&gt;Black Hills now owns AltaGas and its fifty percent, undivided interest in Busch Ranch.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="40799" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr4" class="ldml-notemarker" id="note-fr4"&gt;4&lt;/a&gt; &lt;span data-paragraph-id="40799" data-sentence-id="40800" class="ldml-sentence"&gt;Black Hills separately argued below and in its answer brief to &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; that, because state commissions have jurisdiction over retail sales and the FERC has jurisdiction over wholesale sales, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890266477" data-vids="890266477" class="ldml-reference" data-prop-ids="sentence_40800"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;FERC v. Elec. Power Supply Ass'n&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;577 U.S. 260, 279&lt;/span&gt;, &lt;span class="ldml-cite"&gt;136 S.Ct. 760&lt;/span&gt;, &lt;span class="ldml-cite"&gt;193 L.Ed.2d 661&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2016&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, and because no retail sale occurred here, the Colorado PUC lacked authority to grant San Isabel the right to provide station power in its CPCN.&lt;/span&gt; &lt;span data-paragraph-id="40799" data-sentence-id="41235" class="ldml-sentence"&gt;However, Black Hills did not seek review of the PUC's conclusion that it had jurisdiction to regulate the self-supply of station power.&lt;/span&gt; &lt;span data-paragraph-id="40799" data-sentence-id="41371" class="ldml-sentence"&gt;Because this issue is not properly before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; decline to address it.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;